                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                               NO. 3:20Cr386-FDW-DSC

 UNITED STATES OF AMERICA,                      )
                                                )
                Plaintiff,                      )
                                                )                      ORDER
    v.                                          )
                                                )
 BRANDON GENE MASSEY,                           )
                                                )
                Defendant.                      )
                                                )

         THE UNITED STATES OF AMERICA submits this Appeal of the Magistrate Judge’s

Text-Only Order Denying the United States Motion to Revoke Bond and Return Defendant to Jail

(Doc. No. 141). Upon review of the record in this case, the Court DENIES the appeal.               The

Defendant will remain on Bond under the conditions set by the Magistrate Judge.

         IT IS SO ORDERED.

                                          Signed: November 1, 2021




                                          SEALED DOCUMENT with access to All Parties/Defendants.




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